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ASSESSMENT CENTERS — USE IN CIVIL SERVICE PROMOTIONS

A. POST-LIST ESTABLISHMENT - will have no effect on the relative ranking of
the individuals on the eligible list. Primarily used to select the best candidate among the top
three individuals who sign a certification as willing to accept. May also be used as a

mechanism to gamer reasons for selection if someone other than the highest person on the -
list is promoted,

No delegation agreement is required. HIRD, at the appointing authority’s request, will assist
in the assessment center development process. There is no requirement that HRD be involved
in the assessment center process.

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Process:

1. Municipal department participates in HRD’s written examination and education and
experience rating process. .

‘ _ 2. HRD establishes the eligible list based on these two examination components plus

applicable statutory preferences.

3. Appointing authority requisitions a certification to fill vacancies and the certification is
issued. Appointing authority conducts local assessment center activities.

4, The promotion is made and submitted to HRD for review and approval.
B. ASSESSMENT CENTER USED AS A WEIGHTED, GRADED EXAMINATION

COMPONENT — may have an effect on the relative ranking of individuals on the eligible
list. HRD will be in attendance during the administration of the assessiment center.

Process: .

1. Appointing authority sends a written request (Form 13) to the Personnel Administrator to
include an assessment center as a weighted, graded examination component of the
promotional selection process. .

2. HRD issues a delegation agreement to the appointing authority.
3, Appointing authority hires a qualified consultant, approved by HRD, to work with the

appointing authority and EIRD to: determine the relative weights of the three examination -
components which aré based on job analysis data; design, develop, and construct the

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assessment center exercises; administer and score the assessment center exercises which
includes determination of an appropriate scoring scheme and training of the assessors; and

forward the assessment center scores to HRD for i incorporation with the scores from the
other two examination components. ~

4. Individuals apply to HIRD to participate in the written examination,

5. Results of the written examination are forwarded to all applicants so they can decide if
they wish to continue with the selection process.

6. Assessment center is conducted; results are forwarded to HRD so that the eligible list may
be established.

7. Appointing authority requisitions to fill a vacancy; certification is issued; appointing

authority conducts its usual interview process; promotes and returns the certification to.
HRD for review and approval.

Notes: The weights of the examination components must be determined priar io the
distribution of the examination announcement. ‘

All applicants who pass HRD’s written examination must be afforded an opportunity to
participate in the assessment center exercises.

Appointing authorities may elect to wait until HRD deterniines who has passed the written
examination if they feel the need to cull down the number of applicants participating in the
assessinent céuter. This could delay the establishment of the eligibie list since HRD needs
these scores and to allow the statutory appeal periods to play out before the list can be
established. Some appointing authorities elect to use the assessment center exercises as a

professional development tool for their staff and do not wait until the results of the written.
examination are known.

_ ©. ASSESSMENT CENTER AS THE SOLE RANKING DEVICE - total delegation; no
participation in HRD’s examination process with the exception of the education and
experience rating only for those individuals who have employment and experience in the
position title for which the assessment center is being conducted. HRD will be in attendance
during the administration of the assessment center.

Process:

1. Appointing authority sends a written request (Form 13) to the Personnel Administrator
- indicating that s/he desires to use an assessment center process as the sole ranking device
from which to produce an eligible list.

2. HRD issues a delegation agreement to the appointing authority.

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Appointing authority hires a qualified consultant, approved by HRD, to work with the
appointing authority and HRD to: determine the attributes to be evaluated by the
assessment center which are based on job analysis data; design, develop, and construct
the assessment center exercises; administer and score the assessment center exercises
which includes determination of an appropriate scoring scheme and training of the
assessors; and establish the eligible list.

4. Appointing authority issues an examination announcement indicating the attributes that
will be evaluated in the assessment center.

Individuals indicate their interest in participating i in the assessment center to the
appointing authority.

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6. Assessment cenier is conducted and consultant works with HRD to establish the eligible
list.

7-Eligible listis- forwarded te the appointing authority who may issue a certification

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whenever a vacancy occurs and approve the promotion. The only time that HRD mist be
involved in this promotional process is when someone other than the highest ranked

individual is promoted. Then, the reasons for bypass or selection must be sent to HRD for
review and approval before the promotion may be enacted.

Cautionary note: You may want to discuss this examination type with your union representatives

since some consider this process a change in working conditions and, therefore, bargainabie.

. Alt statutory eligibility provisions (Four or more individuals permanently appointed in the next

lower grade for one year must apply. If that does not occur, the-process is postponed and opened
up to individuals permanently appointed for one year in the next lower grade} and preferences
(veterans or 25 years of service points) apply.

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